          Case 1:20-cv-00344-CRC Document 20 Filed 05/21/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 LALITHA PASEM, et al.,

                        Plaintiffs,

                        v.                          Case No. 20-cv-344 (CRC)

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES,

                        Defendant.

                                             ORDER

        For the reasons stated in the accompanying [18] Memorandum Opinion and based on

[19-1] Declaration of John M. Peace, it is hereby

        ORDERED that [9] Defendant’s Motion to Transfer Venue or to Dismiss and for

Summary Judgment is GRANTED IN PART and DENIED IN PART. It is further

        ORDERED that the Clerk’s Office shall sever into two new actions the following

plaintiffs:

               Action #1: Devi Sushma Sanikanti, Shruthi Somashekar, Suman Anand, Shiney

                       Anis Martina Robinson, Heta Bhavesh Parikh;

               Action #2: Chaitanya Athmakuri. It is further

        ORDERED that the Clerk’s Office shall transfer Action #1 to the Northern District of

Texas and Action #2 to the Central District of California. It is further

        ORDERED that the remaining claims are dismissed as moot.

        This is a final appealable order.

        SO ORDERED.

        Date: May 21, 2020
                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge
